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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA


Microsoft Corporation,                                        L\Jl"   ●.            J   y




                   Plaintiff,
                                                    Civil Action No.|
       V.



Does 1-10 Operating an Azure Abuse                  FILED UNDER SEAL
Network,

                   Defendants.



                                         COMPLAINT

       Plaintiff MICROSOFT CORP. (“Microsoft”) brings this action to protect itself, its

customers, and the public from Defendants DOES 1-10’s (“Does” or “Defendants”) malicious

scheme to misuse Microsoft systems and technology for improper and illegal purposes, including

the unlawful generation of harmful images using Microsoft’s Azure OpenAI Service. By this

action, Microsoft seeks to disrupt a sophisticated scheme carried out by cybercriminals who have

developed tools specifically designed to bypass the safety guardrails of generative A1 services

provided by Microsoft and others.
                                      NATURE OF ACTION

       1.      This action arises under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030

(“CFAA”); the Digital Millenium Copyright Act, 17 U.S.C. 1201 etseq. (“DMCA”); the

Lanham Act, 15 U.S.C. § 1125 e/ seq.; and the Racketeer Influenced and Corrupt Organizations

Act, 18 U.S.C. § 1962(c). This action also involves Microsoft’s claims for trespass to chattels

and tortious interference under Virginia state law. Microsoft seeks injunctive and other equitable

relief and damages from Defendants for their creation, control, maintenance, trafficking, and

ongoing use of illegal computer networks and piratical software to cause harm to Microsoft, its

customers, and the public at large.
       2.      Although the technology implicated by this action is complex, the fundamental
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allegations against Defendants are simple. Defendants used stolen customer credentials and
custom-designed software to break into the computers running Microsoft’s Azure OpenAI

Service. Defendants then used Microsoft’s computers and software for harmful purposes.

Microsoft respectfully seeks the Court’s assistance in putting a stop to Defendants’ illegal

conduct and holding Defendants to account for what they have done.
                                          THE PARTIES

       3.        Plaintiff Microsoft Corp. is a corporation duly organized and existing under the

laws of the State of Washington, having its headquarters and principal place of business in

Redmond, Washington. Microsoft is a leading provider of technology products and services,

including computer software, Internet services, websites, and email services.
       4.        Defendant DOE 1 is a natural person with access to and control over
instrumentalities used in connection with the violations of law described in this Complaint,

including at least the website located at “rentry.org/de3u,” the source code repositories located at

“github.com/notfiz/de3u,” and stolen Azure API keys and other Microsoft customer
authentication information. Based on the information it has been able to gather to date, Microsoft

is informed and believes, and hereby alleges, that a reasonable opportunity for investigation or

discovery will likely yield further evidentiary support showing that DOE 1 resides outside the
United States.

       5.        Defendant DOE 2 is a natural person with access to instrumentalities used in
connection with the violations of law described in this Complaint, including the reverse proxy

tool located at “https://gitgud.io/khanon/oai-reverse-proxy.” Based on the information it has

been able to gather to date, Microsoft is informed and believes, and hereby alleges, that a

reasonable opportunity for investigation or discovery will likely yield further evidentiary support

showing that DOE 2 resides outside the United States.
       6.        Defendant DOE 3 is a natural person with access to and control over
instrumentalities used in connection with the violations of law described in this Complaint,

including reverse proxy tool infrastructure like the domain “aitism.net,” the Cloudflare tunnel.




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and the AWS IP Address used by Defendants for carrying out the scheme alleged in this

Complaint. Based on the information it has been able to gather to date, Microsoft is informed and

believes, and hereby alleges, that a reasonable opportunity for investigation or discovery will

likely yield further evidentiary support showing that DOE 3 resides outside the United States.
       7.      Based on the infonnation it has been able to gather to date, Microsoft is informed

and believes, and hereby alleges, that a reasonable opportunity for investigation or discovery will

likely yield further evidentiary support showing that DOES 4-10 are end-users of the illegal

technology and services trafficked by DOES 1,2, and 3. At least one of DOES 4-10 resides

outside the United States. DOES 4-10 have each knowingly used infrastructure and technology

provided by DOE 1,2, and 3 to unlawfully access and use Microsoft’s software and computers

for the purpose of generating hannflil content.

       8.      Defendants collectively operate and/or control infrastructure , software, and

technical artifacts used to carry out the violations of law described in this Complaint. To

summarize briefly: Defendants illegally procured authentication information from legitimate

Microsoft customers with malicious intent, trafficked and used that stolen customer

authentication infonnation to bypass Microsoft authentication gates and gain unauthorized access

to Microsoft software and computer systems, and then exploited their unauthorized access to

Microsoft’s software and computers to create harmful content in violation of Microsoft’s policies

and through circumvention of Microsoft’s technical protective measures.
       9.      Microsoft is unaware and uncertain of the true names and capacities of

Defendants sued herein as Does 1-10 inclusive and therefore sues these Defendants by such


fictitious names. Microsoft will amend this complaint to allege Defendants’ true names and

capacities when ascertained through discovery of admissible evidence. Microsoft will exercise

due diligence to detennine Defendants’ true names, capacities, and contact information, and to

effect service upon those Defendants.

        10.    Each of the Defendants is responsible in some manner for the occurrences herein

alleged. The injuries to Microsoft, its customers, and others herein alleged have been




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proximately caused by such Defendants.
       11.         The actions alleged herein to have been undertaken by Defendants individually

were actions that each Defendant authorized, controlled, directed, or had the ability to authorize,

control or direct, and/or were actions each Defendant assisted, participated in, or otherwise

encouraged, and are actions for which each Defendant benefited from and is liable. Each
Defendant aided and abetted the actions of other Defendants set forth below. Each Defendant


had knowledge of those actions, provided assistance, and benefited from those actions, in whole

or in part. Each Defendant was the agent of each of the remaining Defendants, and in doing the

things hereinafter alleged, was acting within the course and scope of such agency and with the

pcnnission and consent of other Defendants.

                                    JURISDICTION AND VENUE

        12.         The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1331 because this action arises out of Defendants’ violation of the CFAA (18 U.S.C. §       1030), the

DMCA (17 U.S.C. § 1201), the Lanham Act (15 U.S.C. § 1125(a), (c)), and the Racketeer

Influence and Corrupt Organizations Act (18 U.S.C. § 1962(c)). The Court also has

supplemental jurisdiction over Microsoft’s state-law claims for trespass to chattels and tortious

interference with contract pursuant to 28 U.S.C. § 1367.
        13.        In carrying out the conduct described in this Complaint, Defendants have availed

themselves of the privilege of conducting business in Virginia and have directed acts complained

of herein toward the state of Virginia and this judicial district. For example.
              a.   Defendants chose a “.org” domain, “rentry.org/de3u,” as an access point for the

                   tools used to carry out the misconduct described in this Complaint. Since 1984,

                   the “.org” top level domain (“TLD”) has been managed by the Public Interest

                   Registry (“PIR”), based in Reston, Virginia. This means that whenever Defendants

                   or third parties access Defendants’ tools through Defendants’ “rentry.org/de3u”

                   website, that access depends on PlR’s physical domain name servers (“DNS”) and

                   DNS routing services. As sophisticated actors who have demonstrated substantial




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               knowledge of computer networks and the Internet, Defendants necessarily

               understood that by selecting a 'forg” TLD for its website, Defendants would be

               relying on hardware and services provided by PIR from Reston, Virginia, to
               distribute the malicious de3u software within the United States in order to effect

               their scheme.


          b.   Defendants chose the “.net” domain, “atism.net,” to act as a node in the network

               Defendants created to carry out the scheme described in this Complaint. Since

               2000, the “.net” TLD has been managed by Verisign, Inc., based in Reston,

               Virginia. This means that whenever Defendants or third parties access Defendants’

               tools through the reverse proxy network Defendants created, that access depends

               on Verisign’s physical DNS and DNS routing services. As sophisticated actors

               who have demonstrated substantial knowledge of computer networks and the

               Internet, Defendants necessarily understood that by selecting a “.net” TLD to

               support their network infrastructure, Defendants would be relying on hardware and

               services provided by Verisign from Reston, Virginia, to effect their scheme,

          c.   Defendants chose the AWS IP Address, which geolocates to computers physically

               located in Virginia, as one end of the access tunnel they created into the Azure

               OpenAI Service in order to carry out their scheme. Defendants, sophisticated

               actors who have demonstrated substantial knowledge of computer networks,

               intentionally created software and systems so that images created by the Azure

               OpenAI Service were copied to a computer physically located in Virginia at the
               AWS IP Address.

       14.      In addition. Defendants have acted at all times relevant with knowledge that their

acts would cause harni through computers located in Virginia thereby injuring Plaintiff, its

customers, and others in Virginia and the United States.
       15.      Alternatively, to the extent Defendants are not subject to personal jurisdiction

under Virginia’s long arm statute. Defendants also have availed themselves of the privilege of




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doing business in the United States and have sufficient national contacts with the United States

as a whole to subject each Defendant to the Court’s jurisdiction consistent with the requirements

of due process. For example, Defendants intentionally availed themselves of the privilege of

doing business in the United States by:
   a.   Intentionally configuring their software and systems to use physical machines,

        technology, and services provided in and from the United States by Microsoft (including,

        for example, Microsoft Azure servers, technology, and services);
   b.   Intentionally configuring their software and systems to use physical machines,

        technology, and services provided in and from the United States by Amazon Web

        Services (“AWS”), a U.S. company;

   c.   Intentionally configuring their software and systems to use physical machines,

        technology, and services provided in and from the United States by Cloudflare, a U.S.

        company;

   d.   Intentionally configuring their software and systems to use physical machines,

        technology, and services provided in and from the United States by PIR;
   e.   Intentionally configuring their software and systems to use physical machines,

        technology, and services provided in and from the United States by Verisign;

   f    Intentionally configuring their software and systems to victimize Microsoft, OpenAl,

        AWS, Cloudflare, PIR, and Verisign; and

   g-   Intentionally configuring their software and systems to create and distribute hannful
        materials within the U.S.

        16.    Accordingly, to the extent Defendants do not have sufficient contacts with

Virginia alone to support jurisdiction and venue in this Court, each Defendant is subject to

national service of process under Federal Rule of Civil Procedure Rule 4{k)(2) and jurisdiction in

this Court comports with due process given Defendants’ national contacts with the United States.
        17.    Pursuant to 28 U.S.C. § 1391(b), venue is proper in this judicial district. A

substantial part of the events that give rise to Plaintiffs’ claims, and a substantial amount of the




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infrastructure used to carry out Defendants’ scheme, is situated in this judicial district. Venue is

also proper in this judicial district under 28 U.S.C. § 1391(c) because Defendants are subject to

personal jurisdiction in this judicial district.

                                     FACTUAL BACKGROUND

                                                   Overview

        18.     Microsoft is the well-known creator and provider of the Windows operating

system and a variety of other software and services. Microsoft has invested substantial resources

in developing high-quality products and services. Due to the high quality and effectiveness of

Microsoft’s products and services and the expenditure of significant resources by Microsoft to

market those products and services, Microsoft has generated substantial goodwill with its

customers, establishing a strong brand and developing the Microsoft name and the names of its

products and services into strong and famous world-wide symbols that are well-recognized

within its channels of trade. Microsoft has registered trademarks representing the quality of its

products and seiwices and its brand, including the Microsoft®, Windows®, and Azure® marks.
        19.     Microsoft has long been a leader in the field of Artificial Intelligence (“AI”). AI
refers to software that imitates human behaviors and capabilities.   AI encompasses a wide range

of workloads including:

    ●   Machine Learning (“ML”) - the way humans “teach” a computer model to make

        predictions and draw conclusions from data is often the foundation for an AI system.

    ●   Computer vision - Capabilities within AI to interpret the world visually through cameras,

        video, and images.

    ●   Natural language processing - Capabilities within AI for a computer to interpret written

        or spoken language and respond in kind.

    ●   Document intelligence - Capabilities within AI that deal with managing, processing, and

        using high volumes of data found in fonns and documents.

    ●   Knowledge mining - Capabilities within AI to extract infomiation from large volumes of

        often unstructured data to create a searchable knowledge store.




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   ●   Generative AI - Capabilities within AI that create original content in a variety of fonnats

       including natural language, image, code, and more. Typically, generative AI applications

       take in natural language input (“prompts”) and return appropriate responses in a variety

       of fonnats including natural language, image, code, and audio.

       20.       Since 2016, Microsoft has been committed to building its Azure platform into an

AI supercomputer for the world. Commencing in 2019, Microsoft began a partnership with

groundbreaking AI company OpenAl through a multiyear investment designed to ensure that

Al’s benefits are broadly shared with the world. OpenAl has used Microsoft infrastructure to

train its models, which are now deployed in Azure to power generative AI products like GitHub

Copilot, DALL-E and ChatGPT. These innovations have captured imaginations and introduced

large-scale AI as a powerful, general-purpose technology platfonn that Microsoft believes will

create a transformative impact.
       21.       In addition to its technological leadership, Microsoft has also long been at the

forefront of setting ethical standards for use of AI. Microsoft is committed to the ethical

advancement of AI and has identified six principles it believes should guide AI development and

use: (1) Fairness - AI systems should treat all people fairly; (2) Reliability and safety - AI

systems should pcrfonn reliably and safely; (3) Privacy and security - AI systems should be

secure and respect privacy; (4) Inclusiveness - AI systems should empower everyone and engage

people; (5) Transparency - AI systems should be understandable; and (6) Accountability -

People should be accountable for AI systems. Microsoft helps customers put responsible AI

principles into action by providing educational resources and technical capabilities, as described
further below.

       22.       Unfoilunately, Microsoft’s status as a leader in AI also makes Microsoft a prime

target for bad actors who wish to misuse Microsoft’s Azure technology for unlawful purposes.

One type of malicious conduct that Microsoft has had to combat concerns malicious use of

Microsoft’s Azure OpenAl Service and DALL-E image generation technology to create hannful
content.
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       23.     DALL- E is an AI system that can create realistic images and art from a

description in natural language. To use an example provided on OpenAl’s website, a user can

provide the text input: “a photorealistic image of an astronaut riding a horse” and DALL-E can

return images that matches that text input, as depicted in the examples below.




               According to OpenAI’s website, DALL-E began as a research project and has

several built-in safety mitigations in place. For example, OpenAl states that it has limited the

ability for DALL-E to generate violent, hate, or adult images by removing the most explicit

content from DALL-E training data. OpenAl also used advanced techniques to prevent

photorealistic generations of real individuals’ faces, including those of public figures. OpenAl

also has a content policy that does not allow users to generate violent, adult, or political content,

among other categories and says that OpenAl “won’t generate images if our filters identify text

prompts and image uploads that may violate our policies. We also have automated and human

monitoring systems to guard against misuse.”
       25.     As described in more detail below, Microsoft’s Azure-based integration of

DALLE adds further layers of safety and security. Yet despite Microsoft’s and OpenAl’s

various safety mitigations, sophisticated bad actors have devised ways to obtain unlawful access

to Microsoft’s systems, circumvent safety mitigations, and generate hanuful content using




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Microsoft systems. This lawsuit involves some of these groups of bad actors.

        26.     Using stolen API keys and technical circumvention measures, the Defendants in

this case gained unauthorized access to the computers and software that provide Microsoft’s

Azure-based implementation of OpenATs generative AI models (“Azure OpenAI Service”) and

used that unauthorized access to circumvent Microsoft’s safety measures preventing generation

and dissemination of harmful content. Defendants used Microsoft’s Azure OpenAI Service to


generate thousands of hannful images.
                         Microsoft Azure Infrastructure and Software

        27.     In 2008, Microsoft announced Azure as its new cloud computing operating

system. Originally targeting businesses and developers, “Windows Azure” was built as an

extension of Windows New Technology (“Windows NT”) and marked the beginning of

Microsoft’s Cloud Platfonn as a Service offering. Windows Azure became commercially

available in 2010 and Microsoft has steadily enhanced and expanded its Azure offering ever

since. Microsoft eventually changed the name of its cloud offering to “Microsoft Azure” and
later launched the Azure Data Lake Store and Azure Data Lake Analytics to provide an end-to-


end Big Data and analytics platform on Azure.
        28.     Azure enabled Microsoft to become a first mover in the Machine Learning and


Artificial Intelligence domains. Microsoft invested heavily in database, Big Data, AI, and

 Internet of Things (“loT”) technology, and in creating services centered around machine learning

and artificial intelligence. As a result, Azure quickly garnered a reputation as a leading platfonn

 for AI and rich cloud services operations. Azure currently offers hundreds of services, many of

which are industry leading Software as a Service (“SaaS”), Platfonn as a Service (“PaaS”), and

 Infrastructure as a Service (“laaS”) solutions. Because of Microsoft’s continuing innovation and

 investment, including over $1 billion per year of investment in security to protect its customers’

data from cyberthreats, many Fortune 500 companies entrust their business to Azure today.
        29.      Most Azure cloud services fall into four broad categories: infrastructure as a

 service, platfonn as a service, serverless, and software as a service. These arc sometimes called




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the cloud computing “stack” because they build on top of one another. The most basic category

of cloud services is infrastructure as a service (“laaS”), which allows customers to rent IT

infrastructure like servers, virtual machines, storage, networks, and operating systems on a pay-

as-you-go basis. Platfonn as a service (“PaaS”) refers to cloud computing services that supply an

on-demand environment for developing, testing, delivering, and managing software applications.

PaaS is designed to make it easier for developers to quickly create web or mobile apps without

worrying about setting up or managing the underlying infrastructure of servers, storage, network,

and databases needed for development. Software as a service (“SaaS”) is a method for

delivering software applications over the Internet on demand and typically on a subscription

basis. With SaaS, cloud providers host and manage the software application and underlying

infrastructure and handle any maintenance, like software upgrades and security patching. Users

connect to the application over the Internet, usually with a web browser on their phone, tablet, or

PC. Microsoft Azure provides all of these types of services, both via its public cloud

infrastructure and via hybrid cloud offerings (a type of cloud computing that combines on

premises infrastructure—or a private cloud—with a public cloud).
       30.     Azure’s global infrastructure includes access-controlled computers and networks

that may only be accessed and used by authenticated customers. Azure datacenters and regional

hubs are depicted below in Figure 1. In addition to the Microsoft-owned resources depicted in

Figure 1, customers use their own computing resources and public Internet infrastructure to
connect to and use Azure services.


                                Fig. 1: Azure Global Datacenters




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        31.     Azure physical infrastructure is supported by proprietary Microsoft software

 responsible for enabling, e.g., communications routing, system monitoring, load balancing, and

 security, providing database and user interface functionality.
        32.     For example, the Azure portal is a web-based, unified console that lets users

create and manage tlieir Azure resources. Users can use the Azure portal to build, manage, and

monitor everything from simple web apps to complex cloud deployments. The Azure portal is

designed for resiliency and continuous availability and has a presence in every Azure datacenter.

The Azure portal updates continuously, requires no downtime for maintenance activities, and can

be accessed through any supported browser. For each of the end-user facing elements of Azure

described, there is associated back-end software authored by Microsoft that is required to provide

the described functionality. Microsoft takes steps to protect its copyright interests in Azure

software and grants customers licenses to use it under certain conditions.

                                    The Azure OpcnAI Service
        33.     The Azure OpenAI Service is Microsoft’s cloud solution for deploying,

customizing, and hosting generative AI models created by the groundbreaking company OpenAI.

The Azure OpenAI Service provides access to many of OpenAI’s cutting-edge models including

various versions of OpenATs GPT and DALL-E models. The Azure OpenAI Service brings

together OpenATs cutting edge models and APIs with the security and scalability of the Azure

cloud platfonn. Microsoft experts in AI research, policy, and engineering collaborate to develop

practical tools and methodologies that support AI security, privacy, safety, and quality and

embed them directly into the Azure AI platform.
        34.     As part of Microsoft’s commitment to responsible AI, Microsoft designed and

operates Azure OpenAI Service with the intention of protecting the rights of individuals and

society and fostering transparent human-computer interaction. For this reason, the Azure OpenAI

 Service is a Limited Access seiwice, and access and use are subject to eligibility criteria

detennined by Microsoft.
        35.     There are several ways that Microsoft ensures responsible use of the Azure




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OpenAI Service, including by offering tools to moderate generated content, by providing

guidance for safely designing applications, by limiting access to certain models to ensure that

responsible AI safeguards are working in practice, and by imposing contractual restrictions on

access to the Azure OpenAI Service.

                  Contractual Restrictions on Use of the Azure OpenAI Service
        36.      The Azure OpenAI Service is made available to customers under the terms

governing their subscription to Microsoft Azure Services, including Product Terms for Microsoft
Azure Services.

        37.      A person or company that wishes to use Azure services must first create an Azure

account and user profile. Azure users must provide accurate location, name, and contact

infonnation and must agree to the Microsoft customer agreement. Among other things, the

Microsoft Customer Agreement states:


        a) Licenses for Products. Products are licensed and not sold. Upon Microsoft’s
              acceptance of each order and subject to Customer’s compliance with this
              Agreement, Microsoft grants Customer a nonexclusive and limited license to
              use the Products ordered as provided in this Agreement. These licenses are
              solely for Customer’s own use and business puiposes and are nontransferable
              except as expressly pennitted under this Agreement or applicable law.

        b) Duration of licenses. Online Services and some Software are licensed on a
              subscription basis for a specified period of time. Subscriptions expire at the
              end of the applicable subscription period unless renewed. Some Subscriptions
              renew automatically until canceled. The Subscription term for Online Services
              that are billed in arrears based on usage is the same as the billing period unless
              otherwise specified in the Product Terms. Perpetual Software licenses become
              peq'ietual upon payment in full.

        c)    End Users. Customer will control access to, and use of, the Products by End
              Users and is responsible for any use of the Products that does not comply with
              this Agreement.
        38       The Microsoft Customer Agreement also includes a “restrictions” section that

 expressly prohibits several categories of conduct:

        f)    Restrictions. Except as expressly permitted in this Agreement or Product
              documentation. Customer must not (and is not licensed to):

        (i) reverse engineer, decompile, or disassemble any Product or Services
             Deliverable, or attempt to do so (except where applicable law pennits despite




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              this limitation);

        (ii) install or use non-Microsoft software or technology in any way that would
             subject Microsoft’s intellectual property or technology to any other license
              tenns;


        (iii) work around any technical limitations in a Product or Services Deliverable or
             restrictions in Product documentation;

        (iv) separate and run parts of a Product or Services Deliverable on more than one
              device;

        (v) upgrade or downgrade parts of a Product at different times;

        (vi) transfer parts of a Product separately; or

        (vii) distribute, sublicense, rent, lease, or lend any Products or Services
             Deliverables, in whole or in part, or use them to offer hosting services to a
             third party.

        39.       Some Azure services are provided free of charge, but most require payment.

 Microsoft provides predictable and transparent pricing models that let customers pay only for the

 cloud resources they use and scale as they grow.
        40.       After agreeing to the Microsoft Customer Agreement, users wishing to access
 and use Azure resources and services must authenticate themselves with valid Microsoft-


 provided user credentials. There are several ways users can authenticate themselves to gain

 access to Azure services. For example, users can authenticate themselves to Azure using

 Microsoft Entra ID, which is a cloud-based identity and access management service.

        41.       Microsoft Azure provides Al-optimized infrastructure that helps build and train

 some of the industry’s most advanced A1 solutions. Azure users can leverage supercomputing

 perfonnance for some of the most complex generative AI models, with reliability at massive

 scale with on-demand sizes ranging from eight to thousands of virtual machines interconnected

 by state-of-the-art networking systems.
                                  Conduct Guidelines and Policies

        42.       The Microsoft Generative AI Services Code of Conduct (“Code of Conduct’’)

 defines the requirements that all customers of Microsoft Generative AI Services must adhere to

 in good faith. The Code of Conduct requires customers to ensure that all of their applications



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built with Microsoft Generative AI Services and Azure AI Content Safety:

       ●      Implement meaningful human oversight.

       ●      Implement technical and operational measures to detect fraudulent user

       behavior in account creation and during use.

       ●      Implement strong technical limits on inputs and outputs to reduce the

       likelihood of misuse beyond the application’s intended purpose.

       ●      Disclose the synthetic nature of generated voices, images, and/or videos to

       users such that users are not likely to be deceived or duped - or able to prank

       others - into believing they are interacting with a real person or that any voice or

       other generated content is authentic or attributable to a specific individual.

       ●      Test applications thoroughly to find and mitigate undesirable behaviors
       ●       Establish feedback channels.


              Implement additional scenario-specific mitigations as appropriate.”
       43.    In addition, the Code of Conduct’s Usage Restrictions provide that “Customers,

users, and applications built with Microsoft Generative AI Services and Azure AI Content Safety

must NOT use the services,” for example:

       ●       In any way that is inconsistent with this Code of Conduct, including the

       Responsible AI mitigation requirements, the Content requirements, and any applicable

       Limited Access Requirements;

       ●       To generate or interact with content prohibited in this Code of Conduct;

       ●       To present content alongside or to monetize content prohibited in this Code of

       Conduct;

       ●       To make decisions without appropriate human oversight as part of an application

       that may have a consequential impact on any individual’s legal position, financial

       position, life opportunities, employment opportunities, or human rights, or may result in

       physical or psychological harm to an individual;

       ●       To deploy subliminal techniques (e.g., visual, auditory, or other signals beyond a




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        nomial person’s range of perception) with the intent to deceive or cause harm;

        ●         To deceive or intentionally misinfonn, for false advertising, or to manipulate or

        distort the behavior of a person in a way that causes harm;

        ●         To exploit any of the vulnerabilities of a person (e.g., age, disability, or socio

        economic situation);

        ●         To infer people’s sensitive attributes such as gender, race, nationality, religion, or

        specific age (not including age range, position of mouth (e.g., smile or frown), and hair

        color);

        ●         Except for customers approved for modified content filtering, to identify or verify

        individual identities based on people’s faces, voices, or other physical, physiological, or

        behavioral characteristics;

        ●         For unlawful tracking, stalking, or harassment of a person;

        ●         To generate content with the purpose of removing or altering content credentials

        or other provenance methods, marks, or signals (“AI Content Credentials”) that indicate

        that the content was generated by a Microsoft Generative A1 Service;

        ●         To generate content with the purpose of misleading others about whether the

        content was generated by a Microsoft Generative A1 Service; or

        ●         To detect A1 Content Credentials with the purpose of removing or altering them.
        44.       The Code of Conduct also imposes Content Requirements that prohibit the use of

 Microsoft Generative AI Services for processing, generating, classifying, or filtering content in

 ways that can inflict harm on individuals or society. These content requirements apply to use of

 features of, and the output of, all Microsoft Generative AI Services and Azure AI Content Safety.

 This includes, but is not limited to, use of features of Azure OpcnAI Service and all content

 provided as input to or generated as output from all models available in Azure OpenAI Service,

 such as GPT and DALE- E. These requirements apply to the use of Azure AI Content Safety,

 including features such as customized categories, and to all content provided as input to the

 service and content generated as output from the service regardless of content filter settings.




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        45.     Microsoft prohibits content that describes, features, or promotes sexual

exploitation or abuse, whether or not prohibited by law. Microsoft further prohibits the creation

of erotic, pornographic, or otherwise sexually explicit content. This includes sexually suggestive

content, depictions of sexual activity, and fetish content. Microsoft prohibits content that

attacks, denigrates, intimidates, degrades, targets, or excludes individuals or groups on the basis

of traits such as actual or perceived race, ethnicity, national origin, gender, gender identity,

sexual orientation, religious affiliation, age, disability status, caste, or any other characteristic

that is associated with systemic prejudice or marginalization. Microsoft prohibits content that

targets individual(s) or group(s) with threats, intimidation, insults, degrading or demeaning

language or images, promotion of physical hann, or other abusive behavior such as stalking.
        46.     Microsoft prohibits content that is intentionally deceptive and likely to adversely

affect the public interest, including deceptive or untrue content relating to health, safety, election

integrity, or civic participation. Microsoft also prohibits inauthentic interactions, such as fake

accounts, automated inauthentic activity, impersonation to gain unauthorized information or

privileges, and claims to be from any person, company, government body, or entity without

explicit pennission to make that representation.
        47.     Microsoft provides further guidance in the Transparency Note: Azure A1 Content

Safety (“Transparency Note”). The Transparency Note is intended to help users understand how

Microsoft’s A1 technology works, the choices system owners can make that influence system

perfonnance and behavior, and the importance of thinking about the whole system, including the

technology, the people, and the environment. Among other things, the Transparency Note
advises users to:


        ●       Avoid open-ended, unconstrained content generation.

        ●       Avoid scenarios where use or misuse of the system could result in significant

        physical or psychological injury to an individual.

        ●       Avoid scenarios where use or misuse of the system could have a consequential

        impact on life opportunities or legal status.




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        ●       Avoid high-stakes scenarios that could lead to harm.

        ●       Carefully consider all generative use cases, because some content generation

        scenarios may be more likely to produce unintended outputs and these scenarios require

        careful consideration and mitigations.
        48.     The Transparency Note also cautions users that large-scale natural language,

image, and speech models trained with such data can potentially behave in ways that are unfair,

 unreliable, or offensive, in turn causing hanns.

                   Technical Measures Protecting the Azure OpenAI Service

        49.     In addition to the contractual restrictions and the guardrails imposed by the Code

of Conduct, the Transparency Note, and Microsoft’s AI principles, Microsoft has also developed

technical measures controlling access to and enhancing the safety of the Azure OpenAI Service.

        50.     Microsoft technical measures for protecting the safety of the Azure OpenAI

 Service include Microsoft’s content filtering and abuse detection technologies. Within the Azure

 OpenAI Service, the OpenAI models are integrated with Microsoft-developed content filtering

 and abuse detection models. For example. Azure OpenAI Service includes a content filtering

 system that works alongside core models, including DALL-E image generation models. This

 system works by running both the prompt and completion through an ensemble of classification

 models designed to detect and prevent the output of hannful content. The content filtering

 system detects and takes action on specific categories of potentially hannful content in both input

 prompts and output completions. The text content filtering models for the hate, sexual, violence,

 and self-harm categories have been specifically trained and tested on the following languages:

 English, Gennan, Japanese, Spanish, French, Italian, Portuguese, and Chinese. However, the

 service can work in many other languages.

        51.     The content filtering system integrated in the Azure OpenAI Service contains

 Neural multi-class classification models aimed at detecting and filtering hannful content; the

 models cover four categories (hate, sexual, violence, and self-hann) across four severity levels

 (safe, low, medium, and high). Other optional classification models are aimed at detecting




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jailbreak risk and known content for text and code; these models are binary classifiers that flag

whether user or model behavior qualifies as a jailbreak attack or match to known text or source

code. The use of these models is optional, but use of protected material code model may be

required for Customer Copyright Commitment coverage.

        52.    The Azure OpenAl Service includes default safety applied to all models, with

some exceptions not relevant here. These configurations provide customers with a responsible

experience by default, including content filtering models, blocklists, prompt transfonnation,

content credentials, and others. For example. Azure OpenAl DALL-E also comes with prompt

transformation by default. This transfonnation occurs on all prompts to enhance the safety of an

original prompt, specifically in the risk categories of diversity, deceptive generation of political

candidates, depictions of public figures, protected material, and others.
        53.     In the default streaming scenario, completion content is buffered, the content

filtering system runs on the buffered content, and - depending on the content filtering

configuration - content is either returned to the user if it doesn’t violate the content filtering

policy (Microsoft’s default or a custom user configuration), or it’s immediately blocked and

returns a content filtering error, without returning the hannful completion content. This process

is repeated until the end of the stream. Content is fully vetted according to the content filtering

policy before it’s returned to the user.
        54.     Customers can also configure content filters and create custom safety policies that

arc tailored to their use case requirements. The configurability feature allows customers to adjust

the settings, separately for prompts and completions, to filter content for each content category at

different severity levels. For example, customers can choose the Asynchronous Filter as an extra

option, in which case content filters are lun asynchronously, and completion content is returned

immediately. Because content filters are run asynchronously, content moderation messages and

policy violation signals are delayed, however. While customers retain discretion on certain

content filtering configurations, importantly, for Azure OpenAl models, only trusted customers




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                                                                                             1
who have been approved for modified content filtering have full content filtering control.
        55.    In addition to the content filtering system, Azure OpenAI Service perfonns Abuse

Monitoring to detect content and/or behaviors that suggest use of the service in a manner that

might violate applicable product temis. Azure OpenAI Service detects and mitigates instances of

recurring content and/or behaviors that suggest use of the service in a manner that may violate

the Code of Conduct or other applicable product tenns. There are several components to Abuse

Monitoring:

        ●      Content Classification: Classifier models detect hannful language and/or images

        in user prompts (inputs) and completions (outputs). The system looks for categories of

        hanns as defined in the Content Requirements and assigns severity levels as described in

        more detail on the Content Filtering page.

        ●      Abuse Pattern Capture: Azure OpenAI Service’s abuse monitoring looks at

        customer usage patterns and employs algorithms and heuristics to detect indicators of

        potential abuse. Detected patterns consider, for example, the frequency and severity at

        which hannful content is detected in a customer’s prompts and completions.

        ●      Human Review and Decision: When prompts and/or completions arc (lagged

        through content classification and abuse pattern capture as described above, authorized

        Microsoft employees may assess the flagged content, and either confinn or coiTCCt the

        classification or detennination based on predefined guidelines and policies. Data can be

        accessed for human review only by authorized Microsoft employees via Secure Access

        Workstations (SAWs) with Just-In-Time (JIT) request approval granted by team

        managers. For Azure OpenAI Service resources deployed in the European Economic


 !
 Some customers may want to use the Azure OpenAI Service for a use case that involves the
processing of sensitive, highly confidential, or legally-regulat ed input data but where the
likelihood of hannful outputs and/or misuse is low. These customers may conclude that they do
not want or do not have the right to pennit Microsoft to process such data for abuse detection, as
described above, due to their internal policies or applicable legal regulations. To address these
 concerns, Microsoft allows customers who meet additional Limited Access criteria and attest to
 specific use cases to apply to modify Azure OpenAI abuse monitoring features.




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           Area, the authorized Microsoft employees are located in the European Economic Area.
           ●      Notification and Action: When a threshold of abusive behavior has been

           confirmed based on the preceding three steps, the customer is infonned of the

           detennination by email. Except in cases of severe or recurring abuse, customers typically

           are given an opportunity to explain or remediate—and implement mechanisms to prevent
           recurrence of—the abusive behavior. Failure to address the behavior—or recurring or


           severe abuse—may result in suspension or tennination of the customer’s access to Azure

           OpcnAI resources and/or capabilities.
           56.    To detect and mitigate abuse, Azure OpenAl stores all prompts and generated

content securely for up to thirty (30) days (no prompts or completions are stored if the customer

is approved for and elects to configure abuse monitoring oft). The data store where prompts and

completions are stored is logically separated by customer resource (each request includes the

resource ID of the customer’s Azure OpenAl resource). A separate data store is located in each

geography in which the Azure OpenAl Service is available, and a customer’s prompts and

generated content are stored in the Azure Geography where the customer’s Azure OpenAl

 service resource is deployed, within the Azure OpenAl service boundary. Human reviewers

 assessing potential abuse can access prompts and completions data only when that data has been

 flagged by the abuse monitoring system. The human reviewers are authorized Microsoft

 employees who access the data via point wise queries using request IDs, Secure Access

 Workstations (SAWs), and Just-In-Time (JIT) request approval granted by team managers.

                                     Azure OpenAl Service APIs
           57.    Microsoft provides access to the Azure OpenAl Service through application

 programing interfaces, also known as APIs. An API is computer code that enables software

 applications to communicate with each other. Microsoft's Azure OpenAl Service APIs and the

 Microsoft software those APIs are designed to call are original, creative works of authorship and

 are the product of substantial creative decision making, as well as substantial investment and
 effort.




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         58.                The Azure OpenAI Service APIs are divided into three categories. First,

 Microsoft’s Azure control plane API is used for things like creating Azure OpenAI resources,

 model deployment, and other higher level resource management tasks. Azure OpenAI shares

 software and a common control plane with all other Azure AI Services. Second, Microsoft’s

 data plane authoring API controls software that provides fine-tuning, file-upload, ingestion jobs,

 batch and certain model level queries. Third, Microsoft’s data plane inference API accesses

 Microsoft software that provides the inference capabilities/endp oints for features like

 completions, chat completions, embeddings, speech/whisper, and DALL-E.
         59.                Customers who have entered into the necessary contractual agreements with

 Microsoft may use Microsoft’s APIs to access the Azure OpenAI Service via the Internet using

 the http protocol." For instance, the example code in Figure 2 below depicts an API call to the

 Azure OpenAI Service that requests DALL-E to generate an image of Microsoft Clippy wearing

 a cowboy hat:

                                                                      Fig. 2



            HTTP                                                                                                        Copy


            POST https://{endpoint}/openai/deployments/{deploynietit-id)/ini ages/generations>api-versiof'.2e24-06-61

            (
                ■proapt":     "In the style of HordArt, Microsoft Clippy wearing a cowboy hat.',
                "n":   1,
                "style": "natural",
                ■quality": "standard"
            }




          60.               The API-version field tells Microsoft’s system what version of the API the

 customer is using. The                                      is the text description of the desired image, “n” is the

 number of images requested, “style” refers to the image style requested, and quality refers to the


 2 j-jjjp stands for Hypertext Transfer Protocol, and it’s how different parts of the Internet communicate with each
 other. HTTP is what's known as a “request-response” language because your web browser (Firefox. Safari, etc.)
 sends an HTTP request to a server that is hosting the web content you want to work with. The server then sends an
 HTTP response back to your web browser, https^deam.microsoft.com /en-us/xandr/industry-reference/intro-to-http




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image resolution (e.g., standard or high definition). Only by communicating in the specific

fonnat required by Microsoft’s API can a customer access the functionality provided by the

Azure OpenAl Service API.

         61.        In response to the API call in Figure 1 above, because there is no prohibited

content or abuse detected, the Azure OpenAl Service returns the response depicted in Figure 3
below.

                                                                 Fig. 3

           {
               "body": {
                 ■created':     1698342366,
                 "data":    [
                   {
                     "revisedjjrompf: "A vivid, natural representation of Microsoft Clippy wearing a cowboy hat.",
                     ■proBpt_filter_results“: {
                       'sexual": {
                            “severity":    “safe",
                            “filtered":    false

                       }.
                       "violence": {
                            "severity":    "safe",
                            "filtered":    false


                       "hate":     {
                            "severity": "safe",
                            "filtered":    false
                       }.
                       "self_harm": {
                            "severity":    "safe",
                            "filtered":    false


                       ■profanity": {
                            "detected":    false,
                            "filtered":    false

                       }

                     "url"; "https://Palletipusw2.blob.core.wirdows.net/prlvate/l«iag es/e5451cc6*blad-4747-b0d6*b89a3a3b3b
                     "content_fllter_resultS": {
                       “sexual": {
                         "severity": "safe",
                            "filtered":    false
                       }.
                       "violence":     {
                            "severity": "safe",
                            "filtered";    false


                       "hate": {
                         "severity":       "safe",
                            "filtered":    false


                       "self_harn"; {
                         “severity": "safe",
                            "filtered":    false




         62.         In the response depicted above in Figure 3, the “revised_prompt” field indicates

 the prompt used by the Azure OpenAl Service to generate the image, and the “url” field is the




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 unifomi resource locator, e.g., the internet address, of the image generated by the Azure OpenAI
 Service.

        63.     In the example code above, there is no content filtering called for, so an image is

 successfully generated and returned to the URL specified in the url field. By contrast, when the

 Azure OpenAI Service content filtering system detects hannful content, a user receives either an

 error on the API call if the prompt was deemed inappropriate, or the f inish_reason on the

 response will be content_f ilter to signify that some of the completion was filtered.
        64.     In order to utilize Microsoft APIs to generate an image using DALL-E as

 described above, users must first authenticate themselves to gain access to the Azure OpenAI

 Service. The Azure OpenAI Sen ice provides two methods for authentication:

        ●       API Key authentication: For this type of authentication, all API requests must

        include the API Key in the api-key HTTP header.
        ●       Microsoft Entra ID authentication: Customers can authenticate an API call


        using a Microsoft Entra token. Authentication tokens are included in a request as the

        Authorization header.

 As discussed above, this case involves Defendants’ illegal theft, trafficking, and use of stolen

 API keys.

        65.     An API key is a unique string composed of 52 randomly generated numbers and

 letters. API keys are used for data plane (content) requests and may be viewed and managed in

 the customer’s Azure Portal. Key-based authentication is the default type of authentication for

 most Azure services. For this type of authentication, all API requests must include a valid API

 key in the api-key HTTP header.

        66.     By design, API keys are difficult to re-create and provide a significant measure of

 security. However, like any lock-and-key system, API key security is only effective if the key

 itself is kept secure. For this reason, Microsoft advises its users to adhere to certain best practice

 regarding API key use and maintenance. For example, Microsoft advises users:

        ●       “Only use API keys if data disclosure isn’t a risk (for example, when using




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         sample data) and if you’re operating behind a firewall. Exposure of API keys is a risk to

         both data and unauthorized use of your search service.”

         ●        “Always check code, samples, and training material before publishing to make

         sure you didn’t leave valid API keys behind.”

         ●        “For production workloads, switch to Microsoft Entra ID and role-based access.

         Or, if you want to continue using API keys, be sure to always monitor who has access to

         your API keys and regenerate API keys on a regular cadence.”

         67.      API keys can be accidentally exposed, for example, when keys are hardcoded into

source code that is maintained in publicly accessible source code repositories. Bad actors have

been known to create scraping tools designed specifically to search for API keys, and these tools

can be applied in any code repository that the bad actor is able to access in order to steal API

Keys for malicious purposes. Even when API Keys are maintained in secure environments, they

are susceptible to theft by persons gaining unauthorized access to those environments, including

during data breaches or the like.^ For this reason, Microsoft counsels against storing API Keys
 in unencrypted forni.
               Defendants’ Unlawful Access to and Use of the Azure OpenAl Service

         68.      In late July 2024, Microsoft discovered use of customer API Keys to generate

prohibited content. Investigation revealed that the API Keys had been stolen. The precise manner

 in which Defendants obtained all of the API Keys used to carry out the misconduct described in

this Complaint is unknown, but it appears that Defendants have engaged in a pattern of

systematic API Key theft that enabled them to steal Microsoft API Keys from multiple Microsoft

 customers. Multiple customers from whom Defendants stole API Keys are U.S. companies,

 including companies located in Pennsylvania and New Jersey.
         69.       Using stolen Microsoft API Keys that belonged to U.S.-based Microsoft

 customers. Defendants created a liacking-as-a-service scheme—accessible via infrastructure like



^ Microsoft’s investigation to date has uncovered evidence that at least one Defendant has a history of activity on a
 known data breach infonnation trafficking website.




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the “rentry.org/de3u” and “aitism.net” domains—specifically designed to abuse Microsoft’s
Azure infrastructure and software.

        70.                Using de3u and a custom-built reverse proxy service to generate and

communicate HTTP requests that included Azure OpenAl Service API calls configured with

stolen API Keys, deployment ID, endpoint address and other infomiation configured by the de3u

software and oai reverse proxy, Defendants gained unauthorized access to and use of Microsoft

computers running Azure OpenAl services software necessary for processing, routing, filtering,

executing, and communicating responses to Azure OpenAl Service API calls. Defendants could

not have achieved the level of access they achieved without configuring their HTTP requests in a

manner designed to circumvent Microsoft’s technological measures for limiting access to and

use of the computers and software that comprise the Azure OpenAl Service.
        71.                Defendants’ malicious service can be described as two related software tools and


associated Internet infrastructure used to unlawfully generate images through the Azure OpenAl

 Service. First, Defendants created a client-side software tool referred to by Defendants as

“de3u,” which Defendants make publicly available via the “rentry.org/dc3u” domain. Second,

 Defendants created software for running a reverse proxy service, referred to as the “oai reverse

 proxy,” designed specifically for processing and routing communications from the de3u software

 to Microsoft’s systems. Figure 4 below depicts the basic architecture of Defendants’ malicious

 hacking-as-a-service infrastructure.
                                                               Fig. 4




                                                                        03 j-re verse-proxy
              Stolen API




                                               Proxies traffic via a
                                                Cloudflare tunnel
                                                                             I                Azure OpenAl




                 Prompts                       CLOUDFLARE.




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       72.     The de3u Software. At a high level, the de3u software allows users to issue

Microsoft API calls to generate images using the DALL-E model through a simple user interface

that leverages the Azure APIs to access the Azure OpenAI Service. Using an open-source

software package, Defendants built a web application that implements a custom layout and data

flow designed specifically for using tools like DALL-E to generate images using text prompts.

Defendants’ de3u application communicates with Azure computers using undocumented

Microsoft network APIs to send requests designed to mimic legitimate Azure OpenAPI Service

API requests. These requests are authenticated using stolen API keys and other authenticating
infonnation.

       73.     Defendants’ de3u software pennits users to circumvent technological controls that

prevent alteration of certain Azure OpenAPI Service API request parameters. For example,

Microsoft’s system is designed so that content generated using a given Microsoft customer’s

unique API key is only delivered to the endpoint address specified by that customer.

Defendants’ de3u software and the associated oai reverse proxy service permit Defendants to

effectively alter the target endpoint associated with a customer’s API key so that the API key is

delivered to the de3u user’s desired endpoint address.
       74.     Defendants’ de3u software allows simple mapping of the control fields to input

and output parameters so that less sophisticated bad actors can leverage stolen API keys without

having to write their own code. Figure 5 below is a screen capture of the dc3u user interface
Defendants created:




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                                               Fig. 5

       d*3u




        75.     Defendants also designed their de3u software to be shared with third parties

 without the need for a hosting a web server. In a web server configuration, users access software

 that is running on a computer connected to the internet, as depicted in Figure 6 below.

                                               Fig. 6




                                              Internet




                           User Device                       Web Server




        76.     Defendants’ system avoids the need for a web server, relying instead on the

 “rentry.org/dc3u” domain to provide users with access to the code necessary to run the de3u

 software. This allows Defendants to provide access to their de3u tool—and by extension, access




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to the Azure OpenAI Service—to anyone in the world who visits the “rentry.org/de3u” domain.
        77.          Defendants’ de3u software is designed to try to prevent the Azure OpenAI

Service from revising the original text prompt used to generate images, which can happen for

example when a text prompt contains words that trigger Microsoft’s content filtering. In

addition. Defendants’ de3u software is designed to detect and report whether the Azure OpenAI

Service rejected a text prompt because it is considered as violating Microsoft’s content policy.

These features, combined with Defendants’ unlawful programmatic API access to the Azure

OpenAI service, enabled Defendants to reverse engineer means of circumventing Microsoft’s
content and abuse measures.

        78.      The “oai” Reverse Proxy Service. Defendants have implemented and used an

“oia” reverse proxy service through which de3u users can access the Azure OpenAI Service.

Defendant’s oai reverse proxy service consists of software running on a reverse proxy server that

passes communications from de3u user computers through a Cloudflare tunnef into the Azure

OpenAI Service.
        79.      In general, a reverse proxy server is a server that sits in front of web servers and

 forwards client (e.g., web browser) requests to those web servers. A reverse proxy ensures that

no client ever communicates directly with that origin server.

        80.       In addition to performing the traditional function of any reverse proxy (e.g.,

forwarding requests). Defendants’ oai reverse proxy tool processes and alters communications

traffic between de3u client computers and the target Azure OpenAI Service. Defendants

specifically configured the oai reverse proxy to route traffic to a list of Azure OpenAI Service

endpoints.

                 When a de3u user sends a request to the Azure OpenAI Service to generate an


■* According to Cloudflare’s public documentation, a “Cloudflare Tunnel provides you with a secure way to connect
your resources to Cloudflare without a publicly routable IP address. With Tunnel, you do not send traffic to an
external IP — instead, a lightweight daemon in your infrastructure (cloudflared) creates outbound-only connections
to Cloudflare’s global network. Cloudflare Tunnel can connect H TTP web servers, SSH servers, remote desktops,
and other protocols safely to Cloudflare. This way, your origins can serve traffic through Cloudflare without being
vulnerable to attacks that bypass Cloudflare,” https://developers.cloudflare.com/cloudflare-
one/connections/connect-networks/




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 image, the de3u software routes the request to the oai reverse proxy address. The oai reverse

 proxy tool parses the request and forwards it to the Azure OpenAI Service target endpoint

 through the Cloudtlare tunnel.

         82.      The oai reverse proxy tool also receives and processes responses from the Azure

 OpenAI service before forwarding responses and other data to the de3u user device. If the de3u

 user’s prompt resulted in generation of an image by the Azure OpenAI service, then the oai

 reverse proxy tool receives image parameters from the Azure OpenAI service including the URL

 of the generated image, and the prompt used to generate the image. If no image was generated,

 the oai reverse proxy tool receives and logs the results of any content filtering.

          83.       If the de3u user’s prompt resulted in generation of an image by the Azure

 OpenAI Service, then the oai reverse proxy tool retrieves the image from the URL specified in

 the Azure OpenAI Service return response and saves the image to the computer at the AWS IP

 Address. The oai proxy service then performs several additional steps including injecting proxy

 information into the response traffic, setting some HTTP headers, logging events and text

 prompts, and sending the traffic back to the requesting de3u user client computer.
          84.      The images saved to the oai proxy server include a C2PA Content Credentials

 symbol (“CR Icon”) inserted by the Azure OpenAI service.^ This CR Icon identifies the Azure
 OpenAI Service as the technology used to generate the image via a metadata field that contains

 the Microsoft® registered trademark.
          85.      Although the original image transmitted from the oai reverse proxy to the AWS

 IP address includes original metadata and the C2PA Content Credentials information,

 Defendants’ system also provides functionality to strip original image metadata and replace it
 with de3u custom metadata.




 ^ Microsoft is a founding member of Ihe Coalition for Content Provenance and Authenticity (“C2PA”). C2PA
 addresses the prevalence of misleading information online through the development of teclinical standards for
 certifyingthe source and history (or pro\ enance) of media content. It publishes open source standard that allows for
 insertion of a digital watermark




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                                     CLAIMS FOR RELIEF
                                 FIRST CLAIM FOR RELIEF


               Violation of the Computer Fraud & Abuse Act, 18 U.S.C. § 1030
       86.     Microsoft realleges and incorporates by this reference each and every allegation

set forth in the paragraphs above.
       87.     The computers that provide the Azure OpenAl Service are “protected computers”

for purposes of 18 USC § 1030(e)(2).

       88.     The computers that provide the Azure OpenAl Service are not generally open for

access by any user of the internet. Instead, users must authenticate themselves as licensed

customers of Microsoft using unique customer identification infoimation in order to gain access

to the computers that provide the Azure OpenAl Service.
       89.     Defendants knowingly and intentionally accessed the Azure OpenAl Service

protected computers without authorization, and as a result of such conduct caused damage and

loss (18 U.S.C. § 1030(a)(5)(C)). Microsoft has devoted substantial economic and human

resources to investigating and remediating Defendants’ conduct.
       90.     Defendants’ conduct has caused a loss to Microsoft during a one-year period

aggregating at least S5,000. Microsoft’s internal personnel and outside counsel have spent

months investigating and working to remediate Defendants’ conduct, which has imposed costs

well over the CFAA’s $5,000 threshold. In addition, the value of the services Defendants

fraudulently obtained from Microsoft exceeds $5,000 dollars.
       91.     Plaintiff Microsoft seeks injunctive relief and compensatory and punitive

damages under 18 U.S.C. § 1030(g) in an amount to be proven at trial.
        92.    As a direct result of Defendants’ actions. Microsoft has suffered and continues to

suffer irreparable hanu for which there is no adequate remedy at law, and which will continue

unless Defendants’ actions are enjoined.




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                                 SECOND CLAIM FOR RELIEF


             Violation of the Digital Millenium Copyright Act - 17 U.S.C. § 1201(a)(1)
        93.      Microsoft realleges and incorporates by this reference each and every allegation

 set forth in the paragraphs above.
        94.      Microsoft’s Azure APIs, the software the Azure APIs interact with, and the

 software that implements Microsoft’s abuse and content filtering policies are creative works of

 authorship subject to protection under the Copyright Act. For example, the Azure middleware

 responsible for processing, routing, filtering, executing, and communicating Azure

 communications is subject to copyright protection. In addition, the Azure OpcnAI Service

 Software that implements Microsoft’s abuse and content filtering policies comprises a collection

 of creative models authored by Microsoft based on, for example, a multitude of nuanced artistic

 and safety considerations. Microsoft includes copyright headers in the source code for this
 software.

        95.      Microsoft controls access to and use of its copyright protected Azure software,

 including the Azure software responsible for processing, routing, filtering, executing, and

 communicating in response to Azure OpenAl Service API calls, through use of authentication

 infonnation that includes API Keys, customer deployment IDs, endpoint information, and token

 infonnation. Microsoft’s API key management system effectively controls access to Microsoft’s

 copyright protected Azure software.

        96.       In the ordinary course of its operation, Microsoft’s API key management system

 requires application, with Microsoft’s authority, of authenticating infonnation to gain access to
 Microsoft’s Azure software.

        97.      Using HTTP requests containing stolen and dynamically manipulated API Key,

 deployment ID, end point, and token information. Defendants sent to the Azure OpenAl Service

 computer commands that mimicked authentic Azure OpcnAI Service API calls. These

 maliciously configured HTTP requests allowed Defendants to circumvent Microsoft’s technical

 measures for controlling access to its Azure software. In addition. Defendants used technical




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means to circumvent the normal operation of Microsoft’s content filtering systems, gaining

unlawful access to portions of Microsoft’s Azure software that would have otherwise been
denied.

          98.    Defendants’ violations of the DMCA are willful because they were carried out


with knowledge of wrongdoing.

          99.    Defendants’ conduct caused Microsoft actual damages in an amount subject to
determination at trial.

          100.   As an alternative to actual damages, Microsoft is entitled to statutory damages in

the $200 to $2,500 range per act of circumvention for at least 2,500 instances of willful

circumvention by Defendants.
          101.   As a direct result of Defendants’ actions, Microsoft has suffered and continues to

suffer irreparable harm for which they have no adequate remedy at law, and which will continue

unless Defendants’ actions are enjoined.
                                  THIRD CLAIM FOR RELIEF

            Violation of the Digital Millenium Copyright Act - 17 U.S.C. § 1201 (a)(2)

          102.   Microsoft realleges and incorporates by this reference each and every allegation

set forth in the paragraphs above.

          103.   Does 1-3 have manufactured, imported, offered to the public, provided, and

otherwise trafficked in technology and services primarily designed and produced for the purpose

of circumventing Microsoft’s technological measures for effectively controlling access to works

protected under the Copyright Act, including Microsoft’s Azure software.

          104.   Defendants’ violations of the DMCA are willful because they were carried out

with knowledge of wrongdoing.

          105.   Defendants’ conduct caused Microsoft actual damages in an amount subject to

 detemiination at trial.

          106.   As an alternative to actual damages, Microsoft is entitled to statutory damages in

 the $200 to $2,500 range per act of circumvention for at least 2,500 instances of willful




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 trafficking by Defendants.
         107.   As a direct result of Defendants’ actions, Microsoft has suffered and continues to

 suffer irreparable hann for which it has no adequate remedy at law, and which will continue

 unless Defendants’ actions are enjoined.
                                 FOURTH CLAIM FOR RELIEF


                       False Designation of Origin Under the Lanham Act

         108.   Microsoft realleges and incorporates by this reference each and every allegation

 set forth in the paragraphs above.

         109.    Defendants have generated and distributed unauthorized images containing the

 Microsoft® mark in metadata identifying Microsoft as the source of such images.
         110.   Defendants’ unauthorized images containing metadata identifying “Microsoft” as

 the source of such images is likely to cause confusion, or to cause mistake, or to deceive as to the

 affiliation, connection, or association of Defendants and Microsoft, or of Microsoft’s

 sponsorship, or approval of Defendants’ goods, services, or commercial activities.
         111.   Defendants have distributed within and imported into the United States images

 containing metadata identifying Microsoft as the source of such images, which is likely to cause

 confusion, or to cause mistake, or to deceive as to the affiliation, connection, or association of

 Defendants and Microsoft, or of Microsoft’s sponsorship, or approval of Defendants’ goods,

 sendees, or commercial activities.

         112.   The Microsoft® mark is famous, distinctive, and widely recognized by the

 general consuming public of the United States as a designation of the source of goods or
 services.



         113.   Defendants’ conduct harms Microsoft’s reputation and is likely to dilute by
 tamishment Microsoft’s famous mark.

         114.   Microsoft is entitled to actual damages in an amount to be proven at trial.

         115.   As a direct result of Defendants’ actions, Microsoft has suffered and continues to

 suffer irreparable haiTn for which it has no adequate remedy at law, and which will continue




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unless Defendants’ actions are enjoined.
                                  FIFTH CLAIM FOR RELIEF

                            Violations of the Racketeer Influenced and

                    Corrupt Organizations Act (RICO) - 18 U.S.C. § 1964(c)
        116.   Microsoft realleges and incorporates by this reference each and every allegation

set forth in the paragraphs above.
        117.   Defendants are members of an ongoing association-in-fact enterprise (the “Azure

Abuse Enterprise” or “Enterprise”) consisting of Does 1-3, who provide hacking-as-a-service
software and infrastructure, and Does 4-10, end users who together with Does 1-3 have used

de3u, the oai reverse proxy, stolen API Keys, maliciously configured HTTP commands, and
other instrumentalities described herein to commit wire fraud and access device fraud in

violation of federal law.

        118.    The Azure Abuse Enterprise’s members function as a continuing unit for the

common purpose of achieving the objectives of the Enterprise, including the common objectives
of wire fraud and access device fraud.

        119.   Defendants have conducted the affairs of the Azure Abuse Enterprise through a

coordinated and continuous pattern of illegal activity in order to achieve their common unlawful

puiposes.

        120.   Defendants’ pattern of illegal activity is not limited to attacks on Microsoft.
Evidence Microsoft has uncovered to date indicates that the Azure Abuse Enterprise has been


targeting and victimizing other AI service providers.
        121.   Microsoft alleges that a reasonable opportunity for discovery will yield evidence

that Defendants’ pattern of wire fraud and access device fraud predates and postdates the conduct
described herein.

        122.   Through their scheme, Defendants unlawfully accessed Microsoft customer

accounts with generative Al service entitlements and purposely altered the capabilities of those

services through technical means.




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         123.   Does 1-3 each provided funding, devices, infrastructure, resources, and logistical

 support needed to conduct the Azure Abuse Enterprise.
        124.
                Does 1-3 sold the Azure Abuse Enterprise’s technological capabilities to other
 malicious actors and provided those other actors with detailed instmctions on how to use the

 Azure Abuse Enteiprise’s custom tools to generate hannful content.
        125.    Does 4-10 each provided resources, devices, and prompt engineering needed to

 conduct the Azure Abuse Enterprise.
        126.    The Azure Abuse Enterprise has engaged in activities that affect interstate

 commerce through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c).
        127.    Defendants conspired to operate the Azure Abuse Enterprise through a pattern of

 racketeering activity in furtherance of the common puipose of the Enterprise sometime prior to

 July 2024. Thereafter, each Defendant took wrongful acts in furtherance of their unlawful

 agreement by supplying resources to the Azure Abuse Enterprise. Defendants continuously and

 effectively carried out the puipose of the Azure Abuse Enteiprise from at least July to September

 2024, causing hann to the business and property of Microsoft and others. Defendants use of the
 stolen Azure customer credentials referenced herein to gain fraudulent access to Microsoft’s


 systems would have continued beyond September 2024 but for Microsoft’s actions to invalidate

 and replace those customers’ credentials. Defendants represent a continuing threat to Microsoft

 and others and would likely resume their attacks on the Azure OpenAl Service upon coming into

 possession of additional stolen customer credentials.
        128.    Wire Fraud (18 U.S.C. § 1343). At some point prior to July 2024, Defendants

 devised a scheme to obtain money or property from Microsoft’s paying customers, and to

 defraud Microsoft, by stealing autlientication information from Microsoft customers and

 misusing that authentication infonnation to gain fraudulent access the Azure OpenAl Service.
 Defendants understood and intended that their misuse of stolen customer authentication


 infonnation would deplete the account balances of the paying Microsoft customers whose

 credentials they stole. Defendants devised their scheme at least in part to avoid paying the costs




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of obtaining a license to the Azure OpenAI Service and purchasing the tokens required to use the
Service at scale.^

          129.    From July 26, 2024, to at least September 17, 2024, Defendants transmitted

and/or caused to be transmitted by means of wire communication in interstate and foreign

commerce writings, signals, and pictures for the purpose of executing their scheme to defraud.

For example, on numerous occasions between July 26, 2024, and August 18, 2024, Defendants

transmitted by means of wire communication in interstate and foreign commerce stolen API K.ey
and token information in order to defraud Microsoft regarding Defendants’ identities and


authorization to access Microsoft’s systems and to deprive Microsoft’s paying customers of

tokens they had paid for. Defendants continued to use communications transmitted by means of

wire communication in interstate and foreign commerce in furtherance of their scheme until at

 least September 17, 2024, when changes to the oai reverse proxy service were published by one
or more of the Defendants.

          130.    Access Device Fraud (18 U.S.C. § 1029). From July 26, 2024, to at least August

 18, 2024, Defendants knowingly and with the intent to defraud produced, used, and trafficked in

 counterfeit access devices including the oai reverse proxy server and de3u computers.
          131.     From July 26, 2024, to at least August 18, 2024, Defendants knowingly and with
 intent to defraud trafficked in and used unauthorized access devices, and by such conduct


 obtained a thing of value aggregating $ 1,000 or more during that period.
          132.     Microsoft is infomicd and believes, and hereby alleges that discovery is likely to

yield evidentiary support showing that Defendants have engaged in similar unlawful conduct in

 the past and that at least two Defendants are known associates of one another. Defendants’

 preexisting associations and pattern of unlawful activity makes them a continuing risk for

 conducting the affairs of the Azure Abuse Enterprise through a pattern of racketeering.



  Tokens refer to the basic units of input and output that the Service processes. Generally, models accessed through
 the Azure OpenAI Service understand and process text by breaking it down into tokens. Microsoft provides
 transparent pricing details for input and output tokens at its publicly available website,
 https://azure.microsoft.com/en-u.s/pricing/details/cognitive-ser vices/openai-ser\'ice/.




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         133.   The conduct described above has caused hann to Microsoft’s business and

 property in an amount to be computed at trial.
         134.   The conduct described above was willful and with knowledge of wrongdoing.
         135.   Microsoft is entitled to and hereby demands treble damages, attorneys’ fees, and

 costs of suit in addition to preliminary and pennanent injunctive relief
                                  SIXTH CLAIM FOR RELIEF


                                Common Law Trespass to Chattels

         136.   Microsoft realleges and incoiporates by this reference each and every allegation

 set forth in the paragraphs above.
         137.   Defendants’ actions in abusing the Azure OpenAI Service resulted in

 unauthorized access to the computers of Microsoft.
         138.   Defendants intentionally caused this conduct and this conduct was unauthorized.

         139.   Defendants’ actions have caused injury to Microsoft including time, money, and a

 burden on the computers of Microsoft and Microsoft’s customers. Defendants’ actions have

 caused injury to Microsoft’s business goodwill and have diminished the value of Microsoft’s and

 its customers’ possessory interest in their computers and software.
         140.   Plaintiff Microsoft seeks injunctive relief and compensatory and punitive

 damages in an amount to be proven at trial.
         141.   As a direct result of Defendants’ actions, Microsoft has suffered and continues to

 suffer in'cparable hanri for which it has no adequate remedy at law, and which will continue

 unless Defendants’ actions are enjoined.
                                SEVENTH CLAIM FOR RELIEF

                                  TORTIOUS INTERFERENCE

         142.   Microsoft realleges and incoi*porates by this reference each and every allegation

 set forth in the paragraphs above.

         143.   Microsoft has valid contracts with the customers who have been victimized by

 Defendants.




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         144.   Defendants had knowledge of Microsoft’s customer contracts and intentionally

set out to wrongfully use Microsoft’s customers’ contracts and funds for Defendants’ own

unlawful purposes.

         145.   Defendants have interfered with Microsoft’s contracts with its customers by

stealing customer account infonnation and using that infonnation to deplete customer account
funds.

         146.   Defendants’ conduct has impeded the parties to Microsoft’s customer contracts’

abilities to perform their respective obligations.
         147.   Microsoft has been damaged by Defendants’ conduct in an amount subject to
detennination at trial.

         148.   As a direct result of Defendants’ actions, Microsoft has suffered and continues to

suffer irreparable hann for which it has no adequate remedy at law, and which will continue

unless Defendants’ actions are enjoined.

                                      PRAYER FOR RELIEF


         WHEREFORE, Microsoft prays that the Court:
         1.     Enter judgment in favor of Plaintiff and against the Defendants;
         2.     Deelare that Defendants’ conduct has been willful and that Defendants have acted

with fraud, malice, and oppression;
         3.     Enter a preliminary and pennanent injunction enjoining Defendants and their

officers, directors, principals, agents, servants, employees, successors, and assigns, and all

persons and entities in active concert or participation with them, from engaging in any of the

activity complained of herein or from causing any of the injury complained of herein and from

assisting, aiding, or abetting any other person or business entity in engaging in or perfonning any

of the activity complained of herein or from causing any of the injury complained of herein;
         4.     Enter a preliminai'y and permanent injunction isolating and securing the

infrastructure, including the domain “atism.net” and the software operating from and through the

infrastructure, outside of the control of Defendants or their representatives or agents;




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          5.   Enter judgment awarding Microsoft actual damages in an amount to be proven at
 trial;

          6.   Enter judgment in favor of Microsoft disgorging Defendants’ profits, and;
          9.   Order such other relief that the Court deems just and reasonable.


  Dated; December 19, 2024                 RespectfuUy ^bmitted,



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